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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )              Case No. 8:13CR43
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )
                                          )                     ORDER
MIKE SCOTT ROSELIUS,                      )
                                          )
                     Defendant.           )

       This case is before the Court on a Petition for Action on Conditions of Pretrial

Release (#324). On April 17, 2014, Pretrial Services Officer Mindy S. Bare submitted a

Petition for Action on Conditions of Pretrial Release alleging that Defendant had violated

conditions of release as follows:

       8. The defendant shall:
              (H) Avoid all contact, directly or indirectly, with any persons, who are
       or who may become a victim or potential witness in the subject investigation
       or prosecution, including but not limited to: (names)

       On April 17, 2014, Pretrial Services received information from law
       enforcement that the defendant had contact via facebook with a potential
       witness in his investigation and prosecution.


A warrant for Defendant’s arrest was issued.
       On April 21, 2014, defendant appeared with counsel, Julie A. Frank, before

Magistrate Judge Thomas D. Thalken.        Thomas Kangior represented the government.

Defendant denied the allegations. A detention hearing was initially set for April 22, 2014,

and defendant was remanded to the custody of the United States Marshal. On April 24,

2014, defendant filed an Admission and Waiver of Preliminary Hearing (#334), admitting the

allegations in the Petition for Action and waiving hearing on the matter. The Court finds the
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allegations set out in the petition are generally true and finds the Defendant violated the

conditions of release.

       I find the Order Setting Conditions of Release (#131) and the Consent to Modify

Conditions of Release (#178) should be revoked. I find Defendant is unlikely to abide by

conditions of release. I find that there is no condition or combinations of conditions that

would reasonably assure Defendant’s presence for further proceedings, or the safety of the

community if Defendant were to be released upon conditions.

       IT IS ORDERED:

       1. The Petition for Action on Conditions of Pretrial Release (#324) is granted.

       2.   The July 10, 2013, Order Setting Conditions of Release (#131) and the

September 30, 2013 Consent to Modify Conditions of Release (#178) are hereby revoked.

       3. Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a correctional facility separate, to the extent practicable,

from persons awaiting or serving sentence or being held in custody pending appeal.

Defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of the Court of the United States or on the request of an attorney for the

Government, the person in charge of the correctional facility shall deliver Defendant to the

United States Marshal for purpose of an appearance in connection with a court proceeding.

       Dated this 28th day of April 2014.

                                            BY THE COURT:


                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
